                 EXHIBIT
                    4




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             Report in the matter of
             Ultima Services Corporation
             v.
             U.S. Department of Agriculture,
             et al.
             Case No. 2:20-cv-00041



       Prepared By:

       Jonathan Guryan, Ph.D.




       Date: April 4, 2022




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 1.      Introduction

         I have been asked by counsel for Ultima Services Corporation (Ultima) to review the
         February 4, 2022 expert report of Defendants’ expert, Jon Wainwright, Ph.D., (Dr.
         Wainwright) and the February 7, 2022 expert report of Defendants’ expert Daniel
         Chow (Mr. Chow) and comment on their analyses. The remainder of this report
         outlines my opinions, my background and qualifications, the material I relied upon to
         form my opinions, and the details and explanation for my opinions.


 2.      Summary of Opinions
         My opinions in this matter can be summarized as follows:


              •   Disparities and discrimination are not the same thing. Disparities are
                  differences in an outcome between two or more groups. A disparity might be
                  caused by discrimination, or it might be caused by other factors. The
                  existence of disparities in a particular market does not mean the disparity
                  was caused by discrimination in that same market. If a statistical analysis
                  cannot rule out with a reasonable degree of certainty the possibility that
                  factors other than discrimination in the market in question caused the
                  disparities, then it cannot reject the hypothesis that the disparities are
                  caused by things other than discrimination in the particular market.
              •   Dr. Wainwright presents a summary of 205 disparity studies that were
                  completed between 2010 and 2021, but does not explain how he chose
                  which studies to include in his analysis and which to exclude, nor does he
                  describe how or whether he assessed the quality of the methods used in
                  underlying studies he summarizes. If there is selection bias in the sample of
                  studies that Dr. Wainwright relies upon, or if the underlying studies have
                  flaws, then Dr. Wainwright’s summary of the 205 studies is flawed.
              •   The majority of the analyses that Dr. Wainwright presents assess disparities
                  in industries and markets that are different from the ones in which the
                  Plaintiff operates. Discrimination in one market does not necessarily imply
                  that there is discrimination in a different market. Discrimination in one


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                  industry does not necessarily imply that there is discrimination in a different
                  industry. In order to test whether discrimination exists in a particular market,
                  a social scientist must analyze that particular market.
              •   The disparity indexes reported in the studies that Dr. Wainwright relies upon,
                  as well as the majority of the calculations he does himself, are disparities,
                  but do not offer information about the cause of those disparities. Unadjusted
                  disparities may be caused by discrimination in that particular market, or may
                  be caused by discrimination in a different market, or may be caused by non-
                  discriminatory factors. Therefore, it is inappropriate to conclude from these
                  disparities that the results are “consistent with discrimination” as Dr.
                  Wainwright has not examined any possible explanation other than
                  discrimination for the observed disparities.
              •   Many of the 205 studies Dr. Wainwright summarizes, including ones that he
                  conducted himself, fail to control for differences in firm size or capacity when
                  calculating disparity indexes. Larger businesses may bid for, and be able to
                  take on, larger projects than smaller businesses. If there are more large non-
                  minority owned than minority owned firms in an industry, there may be
                  relatively more contract dollars awarded to non-minority owned firms in that
                  industry even in the absence of discrimination in the selection of which
                  businesses win contract awards.
              •   Mr. Chow’s analyses do not focus on the market in which Ultima operates.
                  Similar to the analyses presented by Dr. Wainwright, it is not clear from Mr.
                  Chow’s results whether the disparities he reports exist in the specific market
                  in which Ultima provides services and would likely be bidding on contracts.
              •   Mr. Chow does not account for the bidding behavior of firms, or any details
                  about the actual bids. One of the underlying assumptions in Mr. Chow’s
                  analysis is that all of the firms in his database would be equally likely to be
                  awarded contracts holding constant the factors he controls for. However, he
                  does not, and cannot, control for whether a firm in his database actually bid
                  on any federal contracts. Similarly, even for those firms that do bid on
                  contracts, his database does not contain any information about those bids.
                  Therefore, any differences in the types or details of bids that different firms
                  submit is not accounted for in Mr. Chow’s analysis.



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              •   Mr. Chow claims to be addressing the question of whether minority-owned
                  firms are awarded federal contracts at rates comparable to other businesses.
                  However, the database that Mr. Chow creates and analyzes only includes
                  firms that have received federal contracts and only distinguishes whether
                  that contract was an Indefinite Delivery Vehicle (IDV) or other award. Firms
                  that did not receive contracts do not appear to be included in the data set Mr.
                  Chow analyzed. If all firms in Mr. Chow’s data set received awards of some
                  type, it is not possible to conclude from an analysis of this data set anything
                  about differences across groups in the likelihood of receiving or not receiving
                  contract awards, much less attributing any estimated differences to
                  discrimination.


 3.      Background and Qualifications

         I am a labor economist. I graduated from Princeton University with a B.A. in
         Economics in 1996, and from the Massachusetts Institute of Technology (“MIT”) with
         a Ph. D. in Economics in 2000. I am currently the Lawyer Taylor Professor of
         Education and Social Policy in the School of Education and Social Policy at
         Northwestern University. In addition, I am a Faculty Fellow at the Institute for Policy
         Research and a member by courtesy of the Economics Department and the Kellogg
         School of Management at Northwestern University.


         From 2010 to 2019, I served as an editor of the Journal of Labor Economics (the
         leading field journal in labor economics), and I regularly serve as a reviewer for
         leading academic economic journals such as the American Economic Review, the
         Quarterly Journal of Economics, the Journal of Political Economy, the Review of
         Economics and Statistics and the Review of Economic Studies. In my role as editor, I
         assessed the scientific quality of academic studies, I chose peer reviewers for
         studies, and based on the advice of these peer reviewers and on my own
         assessment, I provided editorial guidance to authors and made decisions about
         whether submitted manuscripts were published.


         Throughout my career, I have conducted research on a wide range of topics related
         to labor economics and the economics of education. As an example, I have


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         researched racial differences in wages and earnings, and the relationship between
         black-white pay differences and racial prejudice. Additionally, I have studied the
         effect of court-ordered school desegregation on the high school dropout rates of both
         black and white students. In my research, I often analyze large datasets using
         regression analysis and other statistical techniques. My economic research has been
         published in leading peer-reviewed journals such as the American Economic Review,
         the Journal of Political Economy, the Quarterly Journal of Economics, Developmental
         Psychology, the Journal of Educational Psychology, and the Review of Economics
         and Statistics.


         I have presented my research findings on pending regulations to the U.S. Secretary
         of Education, Arne Duncan, and to a number of his top-level staff, as well as to the
         Office of Management and Budget, and to lead congressional staffers for committee
         chairmen in the U.S. Senate and the U.S. House of Representatives. My research
         was cited by the U.S. Secretary of Education in the release of a regulation issued by
         the U.S. Department of Education.


         I have taught a Ph.D. level course called “Quantitative Methods” on statistical
         methods and regression analysis, and an undergraduate level course, called “The
         Economics of Inequality and Discrimination,” both at Northwestern University. In
         previous years, I have taught graduate-level courses on microeconomics and labor
         economics at the University of Chicago Booth School of Business. The courses on
         microeconomics relate to various forms of market competition, the economics of
         costs, determination of market prices, and consumer and firm behavior.


         Since 2010 I have been affiliated with Charles River Associates (“CRA”). As part of
         this affiliation, I have provided expert reports and trial and deposition testimony in
         several matters, including both federal and state courts.


         I am a Faculty Research Fellow at the National Bureau of Economic Research. In
         2009, I was awarded the John T. Dunlop Outstanding Scholar Award, given every
         year for the best research on domestic labor economics by a scholar within 10 years




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           of completing a Ph.D. A copy of my current CV and testimony is attached to this
           report as Appendix A.1


 4.        Summary of Defendants’ Experts’ Analyses
 4.1.      Dr. Wainwright’s Report

           In his February 4, 2022 Report, Dr. Wainwright presents three main analyses: (1) a
           summary of results from 205 disparity studies commissioned by state and local
           governments and public contracting entities since 2010; (2) calculations from the
           Census Bureau’s Annual Business Survey (ABS) and Survey of Business Owners
           (SBO); and (3) regression analyses using the American Community Survey (ACS).


           Dr. Wainwright summarizes results from 205 disparity studies commissioned by state
           and local governments and public contracting entities since 2010. Dr. Wainwright
           reports the percent of the disparity indices across all of these reports that were
           adverse to different protected groups. These disparity indices were calculated using
           various methods, in various locations, within various industries and across industries,
           and at different points in time.


           Dr. Wainwright’s second set of analyses calculates what he has called disparity
           indices using the SBO and ABS data. He calculates these as the difference between
           the racial distribution of firms in the US and the racial distribution in sales and
           receipts of those firms. Dr. Wainwright calculates his disparity index as the percent of
           total sales reported by firms owned by a given race group divided by the percent of
           total firms that are owned by that race group. He reports these calculations across all
           industries in the US, and also broken down by two-digit NAICS code (a code of up to
           six digits that identifies industries).


           Finally, Dr. Wainwright presents results from regression analyses using ACS data
           from 2014 to 2018. Dr. Wainwright presents analyses of earnings, the likelihood of
           self-employment, and earnings from self-employment, and calculates differences in



 1 My billing rate is $650 per hour and the staff working at my direction bill at rates ranging from $280 to $600 per hour. My
           compensation is not contingent on the outcome of this litigation.


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           these outcomes between various race groups and non-minority men. He presents
           some analyses without accounting for any factors others than race, and some
           analyses that account for various factors he categorizes as “qualifications” and
           “capacities.” These analyses are presented across all industries in the US, as well as
           for some 4-digit NAICS codes.


           Based on his analyses, Dr. Wainwright concludes that “taken as a whole, they
           provide strong evidence of large, adverse, and statistically significant disparities
           facing minority-owned business enterprises in the United States. Moreover, these
           disparities cannot be adequately explained by differences between the relevant
           populations in factors untainted by the effects of discrimination and are therefore
           consistent with the presence of discrimination in the business market. This is the
           case in all major markets for government contracting and procurement including
           construction, AECRS, professional services, general services, and CSE, including
           those industries specific to the Plaintiff in this matter.” 2

 4.2.      Mr. Chow’s Report

           In his February 7, 2022 report, Mr. Chow presents regression analyses that examine
           differences in the likelihood of being awarded federal prime contracts among
           different groups. These analyses rely on data provided by the Small Business
           Administration from the System for Award Management (SAM) and from the Federal
           Procurement Data System (FPDS). The SAM data contain firm-level information for
           firms that have registered with the federal government.3 The FPDS data contain
           information about contract awards for small and non-small businesses.4 Mr. Chow
           states that “the data for registrants and awards were extracted for firms registered in
           SAM, or that had recorded transactions, from April 2019 to August 2020.” 5 To create
           the database he uses for analysis, first Mr. Chow combines the SAM data and the
           FPDS data by a process of “merging and removal of redundant and extraneous
           observations.”6 He then removes three industries from his combined data set



 2 Wainwright Report, p. 81.
 3 Chow Report, p. 3.
 4 Ibid.
 5 Ibid.
 6 Chow Report, p. 3. It is unclear from his report what is meant by “redundant and extraneous observations.”


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            (Monetary Authorities-Central Bank, Private Households, and Public Administration).
            All of his subsequent analyses are based on this reduced data set.


            Mr. Chow states that he modeled his analysis on a study conducted in 2012 by
            Robert N. Rubinovitz, Ph.D.7 Mr. Chow presents the results of logistic regression
            analyses that estimate the difference in the odds of being awarded a contract for
            different groups. He presents these results for all industries across the US, as well as
            separately by 3-digit NAICS code.


            The following sections describe the methods that social scientists use to measure
            and test for discrimination, the limitations in some of the statistical analyses used to
            measure and test for discrimination, and the specific flaws in Defendants’ Experts’
            analyses.


  5.        Disparities and Discrimination are not the Same Thing
            Throughout their reports, Dr. Wainwright and Mr. Chow refer to disparities among
            different groups and calculations related to disparities. Disparities and discrimination
            are not the same thing. Disparities are differences in an outcome between two or
            more groups. A disparity might be caused by discrimination, or it might be caused by
            other factors. My understanding is that the various statistical analyses reported in the
            disparity studies relied upon by Dr. Wainwright and the analyses Dr. Wainwright and
            Mr. Chow conducted are intended to test whether discrimination caused disparities in
            the award of government contracts in the US, as well as whether discrimination
            caused disparities in earnings and business formation in the US. In fact, Dr.
            Wainwright’s main conclusion from all of his analyses is that his results “are
            consistent with the presence of discrimination in the business market.”8 Mr. Chow
            stated at deposition that his analyses are “consistent with discrimination.”9


            Analyses of the type Dr. Wainwright and Mr. Chow conducted measure differences in
            average outcomes by race and gender, in some cases controlling for a set of factors


  7 Chow Report, p. 1.
  8 Wainwright Report, p. 81.
  9 Chow deposition, p.106, 110-111.


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           that the analyst chooses. If there is any variable or factor that is correlated with race
           or gender that also causes differences in the outcome of the analysis, the result can
           be a disparity by race or gender that is statistically significant even in the absence of
           discrimination. These analyses only measure the effect of discrimination if every
           other factor correlated with race or gender that determines the number of contracts
           awarded (or earnings or business formation) is controlled for in the analysis, or is
           ruled out as a cause of the disparity in some other way.


           The existence of disparities in a particular market does not mean the disparity was
           caused by discrimination in that same market. Whether those disparities are caused
           by discrimination in that market is a different question. It is a causal question: Did
           discrimination in a given market cause the disparities in that market? Put differently:
           In the absence of discrimination by participants in that market, would the measured
           disparities exist? Those disparities could have been caused by non-discriminatory
           factors, by discrimination that exists outside of that market, by discrimination that
           exists in markets that affect participants prior to their participation in the market in
           question, by discrimination by participants in the market in question, or by other
           factors. If a statistical analysis does not consider these as possibilities, then it
           assumes the answer. If the statistical analysis cannot rule out with a reasonable
           degree of certainty the possibility that factors other than discrimination in the market
           in question caused the disparities, then it cannot reject the hypothesis that the
           disparities are caused by things other than discrimination in the particular market.10


  6.       Statistical Tests for the Existence of Discrimination
           Social scientists recognize that that the existence of a disparity in outcomes between
           two groups does not necessarily mean the disparity was the result of discrimination.
           This view is summarized, for example, in a 2004 report by the National Academy of
           Sciences entitled Measuring Racial Discrimination, which stated:




  10 See e.g., Altonji and Blank, 1999, “Race and Gender in the Labor Market,” in Handbook of Labor Economics, Vol. 3,
           Ashenfelter and Card, Eds. Elsevier Science; Blank, Dabady and Citro, 2004, Measuring Racial Discrimination,
           National Academies of Science, National Academies Press.


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                  That racial disparities exist in a wide range of social and economic outcomes
                  is not in question: They can be seen in higher rates of poverty,
                  unemployment, and residential segregation and in lower levels of education
                  and wealth accumulation for some racial groups compared with others. Large
                  and persistent outcome differences, however, do not themselves provide
                  direct evidence of the presence or magnitude of racial discrimination in any
                  particular domain. Differential outcomes may indicate that discrimination is
                  occurring, that the historical effects of racial exclusion and discrimination
                  (cumulative disadvantage) continue to influence current outcomes, that other
                  factors are at work, or that some combination of current and past
                  discrimination and other factors is operating. (Blank et al, 2004, p. 5)


          When faced with the question whether a particular type of discrimination caused a
          disparity, it is common practice within social science to consider whether the patterns
          observed in the data could have been generated in a world absent that type of
          discrimination. For example, if one were analyzing whether discrimination caused a
          difference in earnings between African-American and white workers, it would be
          necessary to consider whether the disparity was caused by a difference in years of
          completed education between the two groups of workers. Without considering this
          possibility seriously, the statistical analysis is neither complete nor valid. If the social
          scientist cannot, with a reasonable degree of certainty, reject the possibility that the
          patterns in the data (e.g., the disparity in outcomes between the two groups) could
          have been generated in the absence of the type of discrimination in question, then
          he cannot conclude that the particular type of discrimination caused the disparity.
          Therefore, it is necessary to assess whether factors other than discrimination in the
          market in question might account for the disparities in outcomes before a statistical
          analysis should draw an inference that discrimination in that market was the cause of
          the disparities. One method that is sometimes used to rule out other factors is a
          regression analysis.


          Regressions are commonly used by social scientists to attempt to measure effects of
          discrimination in markets. For example, an economist might estimate a regression to
          test whether Black and white workers in a particular market are paid different
          amounts as a result of their race. This analysis builds on a definition of market

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          discrimination by Gary Becker, in The Economics of Discrimination (1957). In that
          book, Becker explains that discrimination exists in a labor market when two equally
          productive workers in different groups (e.g., racial groups) are paid different
          amounts. Equivalently, discrimination exists when workers are paid based on non-
          productive attributes, such as gender or race.


          When regression is used to test for the presence of discrimination in markets, strong
          assumptions are necessary to attribute differences in outcomes between two groups
          to discrimination. Even when the estimated difference is statistically significant, an
          inference of discrimination is not necessarily appropriate. The standard use of
          regression to test for discrimination involves estimating a regression of some
          outcome (e.g., earnings) on an indicator for being in a group potentially subject to
          discrimination (e.g., African-Americans, or female), and some set of “control
          variables.” The regression estimates the average difference in earnings between
          non-African American and African-American individuals, holding the control variables
          constant.


          There is consensus among social scientists who study discrimination in markets that
          a regression analysis of this type is a significantly flawed method of testing for the
          presence of discrimination, in part because most datasets do not include variables
          that measure enough of the potential factors it would be necessary to control for to
          reach such a conclusion.


          For example, the National Academy of Sciences report, Measuring Racial
          Discrimination, stated:


                  The statistical decomposition of racial gaps in social outcomes using
                  multivariate regression and related techniques is a valuable tool for
                  understanding the sources of racial differences. However, such
                  decompositions using data sets with limited numbers of explanatory
                  variables, such as the Current Population Survey or the decennial census, do




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                     not accurately measure the portion of these differences that is due to current
                     discrimination. (Blank et al, 2004, p. 8) 11


           The National Academy of Sciences report goes on to explain:


                     Omitted variables bias poses a serious problem for the large share of studies
                     of racial differences in surveys (e.g., the Current Population Survey or
                     decennial census long-form sample) having only a limited set of the
                     characteristics that may reasonably factor into the processes under study. In
                     such circumstances, it is possible to measure the extent of the difference in
                     the outcome that is associated with race, but it is not possible to decompose
                     that difference into a portion that reflects discrimination and a portion that
                     reflects the association between race and omitted variables that also affect
                     the outcome. Because researchers generally do not know whether or what
                     critical variables have been omitted, they must be very careful in making the
                     leap from statistical decompositions in a statistical accounting exercise as
                     discussed above to conclusions of the role of discrimination. (Blank et al,
                     2004, pp. 138-139)




  11 Similar sentiments are expressed, for example, in Bertrand and Duflo (2017), “Field Experiments on Discrimination,” in
           Handbook of Economic Field Experiments, Vol. 1, Banerjee and Duflo, Eds. (“The limitations of this approach are well
           known. The interpretation of the estimated “minority” coefficient is problematic due to omitted variables bias.
           Specifically, results of a regression analysis might suggest differential treatment by race or gender even if the decision
           maker (say, an employer) never used group membership in her decision of how much to pay an employee. However,
           it could be the case that race or gender is correlated with other proxies for productivity that are unobservable to the
           researcher but observed by the employer. It is therefore impossible to conclude that the employer used group
           membership in her decision-making process using this method.” (p. 315)), and Lang and Spitzer (2020), “Race
           Discrimination: An Economic Perspective,” Journal of Economic Perspectives, 34(2): pp. 68-89 (“Traditionally, much
           of the evidence for labor market discrimination came from ordinary least squares regressions with wages as the
           dependent variable and a set of control variables like age and education, along with a dummy variable for race, as the
           explanatory variables. The working assumption was that if the coefficient on the dummy variable for race was
           significant, this was evidence of discrimination. However, because the set of observable control variables for
           differences between blacks and whites was inevitably incomplete, at best the coefficient on race represented an
           unexplained differential that might reflect discrimination. In addition, some control variables might themselves reflect
           past discrimination. For example, using parental income as a control variable reduces the racial gap in earnings.
           However, lower levels of parental income for blacks relative to whites might reflect labor market discrimination
           experienced by their parents.” (p. 70)).


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  6.1.1. Omitted variable bias

          It is only possible to control for variables that are in the data set being analyzed. For
          example, suppose one were analyzing whether discrimination caused a difference in
          earnings between African-American and non-African-American workers. If there are
          ways that African-Americans and non-African-Americans participating in a market
          are different that are not controlled for in the regression, the estimated racial
          difference in earnings may suffer from what is called “omitted variables bias.” For
          example, suppose that African-Americans on average complete fewer years of
          education and that African-Americans have access to lower quality schools, and that
          data are available on how many years of education each individual completed, but
          not on the quality of schools each individual attended as a child. In this case, a
          regression could hold constant years of education, but not the quality of schools
          attended. Thus, in this hypothetical, the difference in earnings between African-
          Americans and non-African-Americans, holding everything possible constant, is not
          necessarily due to discrimination in the labor market. It may be due to differences in
          the quality of schools attended by African-Americans and non-African-Americans.


          This idea applies more generally to any factor that affects the outcome of interest.
          The concept of “omitted variables bias” is important to the use of regression and
          other statistical tests for the purpose of measuring the effects of discrimination.
          Regression can measure differences in average outcomes between two groups,
          holding constant observable characteristics of members of those groups. However,
          to attribute that measured difference to discrimination, it is necessary to control for
          everything besides discrimination that might cause the average outcomes of the two
          groups to be different.

  6.1.2. External validity

          External validity refers to whether an estimate is informative of similar objects or
          concepts outside the population that the data being analyzed is supposed to
          represent (e.g., in other settings, for other groups of people, at other times). The
          concept of external validity applies to the use of statistical and regression analysis to
          test for disparities or the presence of discrimination. Finding a disparity in one
          market does not imply there is necessarily a similar disparity in another market. For

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           example, finding a disparity in one industry does not imply that there is necessarily a
           similar disparity in another industry. Finding a disparity in the private sector does not
           imply there is necessarily a similar disparity in the public sector. Finding a disparity in
           government contracting in one industry does not necessarily imply that there is a
           similar disparity in government contracting in a different industry.

  6.1.3. Group-Specific Analyses of Discrimination

           The statistical analysis of discrimination commonly involves comparing average
           outcomes in one or more groups that are potentially affected by discrimination to
           average outcomes in a reference group. When conducting such an analysis, it is
           important to analyze each group separately. Analyses that treat different groups as
           one, that combine groups, may give misleading results. If one group is negatively
           affected by discrimination and another is not, combining the two groups can make it
           appear that either both or neither group is negatively affected. An analysis that
           evaluates each group separately generates a separate estimate of disparity for each
           group analyzed, rather than a single estimate of disparity for all groups that are the
           potential subject of discrimination combined. Misclassification of observations, e.g.,
           individuals or firms, into the reference group or into any of the potentially
           discriminated groups can also cause estimates of disparities and discrimination to be
           biased.

  6.2.     Other methods are regarded as superior ways to test for discrimination

           While regression analyses can be a useful tool to test for disparities, the lack of data
           related to non-discriminatory factors that impact the outcome of interest often
           renders regression analyses limited in their ability to test whether discrimination
           caused an observed disparity. In an attempt to address these methodological flaws,
           social scientists have developed other methods that are regarded as superior ways
           to measure and test for discrimination. These other methods include audit studies,
           correspondence studies, field experiments, natural experiments, and marginal
           outcome tests.12




  12 Blank et al (2004) and Bertrand and Duflo (2017) discuss these methods.


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  7.        Dr. Wainwright’s Analyses Do not Investigate the Market Ul-
            tima Participates In and/or Suffer from Omitted Variable Bias
            As discussed above, Dr. Wainwright presents three types of analyses to support his
            opinion that his results are “consistent with the presence of discrimination in the
            business market.” 13 Some of Dr. Wainwright’s analyses are based on studies of
            markets that are different from the market covered by the 8(a) program, some are
            based on studies of markets that are different from the market in which Ultima
            operates, and some are not specifically related to federal contracting. Some of Dr.
            Wainwright’s analyses fail to control for non-discriminatory factors that may explain
            the disparities he reports.

  7.1.      Dr. Wainwright’s Summary of Prior Disparity Studies

            In section II of his report, Dr. Wainwright presents a summary of 205 disparity studies
            that were completed between 2010 and 2021. From these studies, Dr. Wainwright
            “assembled all the availability and utilization statistics from these studies into a
            database, as well as the disparity indexes derived from them, in order to summarize
            and analyze the disparity findings across all of the studies.”14 As Dr. Wainwright
            describes, the 205 disparity studies he relies upon come from various time periods,
            various locations (states, cities, counties) and various industries (measured with
            varying degrees of specificity). Each record in Dr. Wainwright’s database represents
            one estimated disparity index from one of the studies.


            To the extent there are flaws in the methods used in any of the underlying studies Dr.
            Wainwright summarizes, these flaws will carry forward into Dr. Wainwright’s analysis.
            It is therefore important for Dr. Wainwright to make an assessment of each study’s
            methods before including it in his analysis. 15 Based on my own review, many of the
            studies Dr. Wainwright includes in his analysis contain flaws that make conclusions
            regarding the presence or absence of discrimination in relevant markets
            inappropriate.




  13 Wainwright Report, p. 81.
  14 Wainwright Report, p. 14.
  15 See Wainwright deposition, p. 58, 65.


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  7.1.1. The 205 studies in Dr. Wainwright’s analysis may be a selected sample

          The 205 disparity studies in Dr. Wainwright’s sample were commissioned by various
          state and local governments to investigate public-sector contracting in specific
          markets. These studies were published as support for the various Disadvantaged
          Business Enterprise (DBE) or similar programs in those locations and markets. In
          order to support a DBE program in a particular market, the state or local government
          must show evidence of the need for a DBE program in that particular market.
          Therefore, a disparity study that is published by a state or local government as
          support for a particular DBE program is likely to show disparities that the program is
          intended to remedy. If a study commissioned by a state or local government fails to
          show significant disparities in public contracting, the DBE program in that market
          would not have support based on that study. Potential DBE programs that do not
          exist because they would serve markets where there is not sufficient evidence of
          discrimination do not generate disparity studies for Dr. Wainwright to sample. It is
          unclear what the forum is for publication of a study that does not support a DBE
          program. If disparity studies are only published and publicly available when they
          provide support for a DBE program, then the studies Dr. Wainwright has access to
          will disproportionately show disparities that are adverse to minority groups. If the
          studies that Dr. Wainwright has access to are only the studies that show adverse
          disparities, then his sample may not be representative of disparities in other markets.

  7.1.2. The majority of the disparity indexes in Dr. Wainwright’s sample are not spe-
         cific to the industry in which the Plaintiff operates

          As described above, Dr. Wainwright summarizes the results of 205 disparity studies
          that contain disparity indexes from various locations, across and within various
          industries, and at various times. Even if it were true that the 205 studies were a
          representative sample, it is clear from Dr. Wainwright’s report that the majority of the
          disparity indexes he relies upon assess disparities in industries and markets that are
          different from the ones in which the Plaintiff operates. As discussed above as it
          relates to external validity of results, discrimination in one market does not
          necessarily imply that there is discrimination in a different market. Discrimination in
          one industry does not necessarily imply that there is discrimination in a different




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            industry. In order to test whether discrimination exists in a particular market, a social
            scientist must analyze that particular market.


            The contracts I understand to be at issue in this matter are contracts that Ultima
            Services competes for to provide administrative and/or technical support to the US
            Department of Agriculture.16 However, nearly all of the results that Dr. Wainwright
            presents in section II of his report are either unrelated to “administrative and/or
            technical support” or group together numerous other types of businesses and
            contracts with businesses that may not be similar to Ultima.


            For example, Tables 2.2 through 2.7 of Dr. Wainwright’s report summarize disparities
            either across all industries in the US, or broken down into five general industry
            categories: Construction, AECRS, Professional Services, General Services, and
            CSE.17 The calculations that he presents across all industries show that disparities
            may exist in the US as a whole. A measured disparity in the US as a whole may be
            consistent with larger disparities in some industries and smaller, or even no,
            disparities in other industries. Dr. Wainwright also presents some analyses that
            group industries into categories. However, analyses that aggregate industries into
            groups of this size do not assess whether there is a disparity in any particular
            industry within the group. Of the broad industry categories Dr. Wainwright reports,
            Construction, AECRS, and CSE are not similar to the type of contracts that Ultima is
            bidding on, and both Professional Services and General Services include numerous
            types of contracts and firms that are outside of the relevant contracts at issue in this
            matter. Similar to Dr. Wainwright’s calculations across all industries, his calculations
            by broad industry group may not reflect the market conditions faced by Ultima or
            similar firms bidding on federal contracts.


            The only analyses in section II of Dr. Wainwright’s report that attempt to examine the
            specific industries in which Ultima operates are reported in Table 2.8. In this table,
            Dr. Wainwright summarizes the results of disparity indexes calculated for several
            different NAICS (industry) codes: 541, 5416, 561, 5611, and 5613. Dr. Wainwright

  16 Complaint in this matter, p. 2.
  17 As noted in Dr. Wainwright’s report, AECRS stands for Architecture, engineering, and construction-related professional
            services, and CSE stands for Commodities, supplies, and equipment.


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           notes that all of the estimates he summarizes in Table 2.8 were from studies he
           conducted with NERA. 18 However, even these more specific NAICS codes are over-
           inclusive and would include firms performing different services than Ultima. For
           example, NAICS code 5416 includes firms “primarily engaged in providing advice
           and assistance to businesses and other organizations on management,
           environmental, scientific, and technical issues.”19 Some of the top grossing firms in
           this industry code include Mercer (us) Inc., Booz Allen Hamilton Holding Corp,
           Accenture LLP, and Deloitte LLP, all of whom are consulting firms.20 These are not
           the type of firms that Ultima competes with to provide administrative support and
           technical support services. Similarly, NAICS code 5613 includes employment
           agencies, executive search firms, and professional employer organizations. Although
           5611 has fewer dissimilar companies, as explained below, the results there are
           unadjusted disparities that do not attempt to explain whether the disparity was
           caused by discrimination or some other factor.

  7.1.3. The disparity indexes upon which Dr. Wainwright relies do not account for any
         non-discriminatory factors

           As described in Dr. Wainwright’s report, calculating a disparity index relies upon the
           following process: (1) determine the relevant geographic market; (2) determine the
           relevant product market; (3) determine Minority-Owned Business Enterprise (MBE)
           “availability” in the relevant geographic and product market; (4) determine MBE
           “utilization” in the relevant geographic and product market; (5) calculate the disparity
           index as MBE utilization divided by MBE availability. 21 The disparity indexes from
           each of the 205 disparity studies that Dr. Wainwright summarizes in section II are all
           calculated by dividing some measure of “utilization” by some measure of “availability”
           in various geographic and product markets.


           Notably absent from this methodology is any control for non-discriminatory factors
           that may impact MBE utilization or availability. MBE utilization is typically calculated
           as the percent of contract dollars awarded to MBEs. MBE availability is often


  18 See Wainwright Report, fn 41.
  19 See https://www.naics.com/naics-code-description/?code=5416.
  20 Ibid.
  21 Wainwright Report, p. 15-17.


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          calculated as the percent of firms in the given market that are MBEs, and in some
          cases that percentage is weighted by industry dollars or the “capacity” of the firms.
          The disparity indexes do not account for factors other than race or gender that may
          impact which firms receive contracts, including attributes of the firms, whether firms
          bid for contracts, or any information about the actual bids that firms proposed. As a
          result, the disparity indexes reported in the studies that Dr. Wainwright relies upon
          may measure disparities, but do not offer information about the cause of those
          disparities. Unadjusted disparities may be caused by discrimination in that particular
          market, or may be caused by discrimination in a different market, or may be caused
          by non-discriminatory factors. Therefore, it is inappropriate to conclude from these
          disparity indexes that the results are “consistent with discrimination” as Dr.
          Wainwright has not examined any possible explanation other than discrimination for
          the observed disparities. This analysis suffers from the type of omitted variables bias
          that the National Academy of Sciences warns about when trying to draw an inference
          about discrimination.


          As an example, if in a particular market African-American owned firms are less likely
          to bid on federal contracts because those firms have more success in the private
          market, then it is likely that one would find “utilization” of African-American firms
          lower than their “availability” in the market. This result would not be due to some form
          of discrimination, but rather the difference in bidding behavior of African-American
          owned firms. Similarly, if historical and societal discrimination causes African-
          American owned businesses in a particular market to be smaller on average than
          other businesses, there may be a difference in capacity, and disparities between
          “utilization” and “availability” may exist in that market even in the absence of
          discrimination in federal contracting in that market. For example, if the effects of
          historical discrimination in a market are passed on through the intergenerational
          transfer of wealth, then one would expect African-American owned businesses in
          that market to be smaller on average than other businesses even in the absence of
          recent or current discrimination. Furthermore, none of the studies Dr. Wainwright
          relies upon control for the bidding behavior of firms in their calculation of disparity
          indices, and many of them do not control for the size or capacity of businesses.
          Without accounting for factors other than race/ethnicity, like these, many of the



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           studies Dr. Wainwright relies on cannot distinguish between a disparity and recent or
           current discrimination.

  7.1.4. Many of the studies Dr. Wainwright relies on, including ones he conducted
         himself, fail to control for capacity when calculating disparity indexes

           Many of the 205 studies Dr. Wainwright summarizes, including ones that he
           conducted himself, fail to control for differences in firm size or capacity when
           calculating disparity indexes.22 These studies compare the share of dollars awarded
           to minority versus non-minority firms (utilization) to the share of businesses that are
           minority versus non-minority firms (availability), without making an effort to account
           for differences in the size or capacity of minority versus non-minority owned
           businesses. Larger businesses may bid for, and be able to take on, larger projects
           than smaller businesses. If there are more large non-minority owned than minority
           owned firms in an industry, there may be relatively more contract dollars awarded to
           non-minority owned firms in that industry even in the absence of discrimination in the
           selection of which businesses win contract awards.


           Consider for example an industry in which there are many smaller businesses and a
           few very large businesses. Consider the possibility that in this industry, the few very
           large businesses are non-minority owned. If businesses in this industry bid for
           contracts that are proportionate to their size, and contracts are awarded at equal
           rates to every business that bids for a contract, the ratio of utilization to availability
           (with no adjustment for capacity) will be lower for minority than non-minority
           businesses. The method that Dr. Wainwright uses to measure a disparity index
           would generate an index less than 1 in this case.


           I expect that Dr. Wainwright would respond that capacity differences between
           minority and non-minority owned businesses is influenced by, i.e., “tainted” by,
           discrimination, and that therefore it is inappropriate to control for capacity in a
           statistical assessment of discrimination. Indeed, in footnote 26 of his report, Dr.
           Wainwright states that “‘capacity’ measures are all likely to be influenced by the


  22 See Wainwright deposition, p. 67-68, 87, and e.g., Mason Tillman Disparity Study of City of St. Louis, April 2015, MGT of
           America, Inc. Alaska Department of Transportation and Public Facilities Disparity Study, August 18, 2014, BBC
           Research & Consulting 2019 Disparity Study, City of Indianapolis and Marion County.


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          presence of discrimination if it exists in the relevant markets. Consequently, building
          such metrics into the measure of availability will cause any resulting disparity statistic
          to be understated.” This response would miss the point.


          First, that business size or capacity is affected, or tainted, by recent or current
          discrimination in a particular market or industry is an assertion that Dr. Wainwright
          has not tested. To the extent that there are differences in business size or capacity,
          these differences may be caused by historic or societal discrimination, by choices
          that business owners make, or by discrimination in the market in question. Dr.
          Wainwright’s choice not to control for firm size or capacity assumes that any
          differences in firm size or capacity is caused solely and fully by recent or current
          discrimination in the relevant market or markets. But, Dr. Wainwright has not
          conducted an analysis of whether, or to what extent, firm size in any industry has
          been affected by discrimination in relevant markets.


          Second, if an analysis were to show that discrimination in a relevant market causes
          some, but not all, of a difference in the size of minority and non-minority owned
          businesses, failing to control for capacity differences would still be problematic.
          Consider the possibility that recent or current discrimination causes some portion of
          the difference in the size of minority and non-minority owned businesses, but that
          some of the size difference is caused by other factors such as historic or societal
          discrimination. Failure to account for the portion of the difference in size or capacity
          that is caused by those other factors would cause a disparity index to overstate the
          effects of recent or current discrimination in the relevant market. In the disparity
          studies Dr. Wainwright conducted, and in several of the other studies Dr. Wainwright
          summarizes, no adjustment is made for differences in capacity that are caused by
          factors other than recent or current discrimination.

  7.2.    Dr. Wainwright’s Analysis of SBO and ABS data

          In Section III of his report, Dr. Wainwright presents several calculations of disparity
          indexes based on nationwide data from the 2012 SBO and 2017 ABS. In both cases,
          Dr. Wainwright calculates the disparity ratios as the ratio of what he calls utilization
          by firms owned by a given race/ethnic group divided by what he calls availability of


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           those firms. Dr. Wainwright calculates utilization as the percent of total sales/receipts
           dollars reported by firms owned by a given race/ethnic group, and calculates
           availability as the percent of total firms that are owned by that race/ethnic group.
           These calculations are presented across all industries in the US, and also broken
           down by two-digit NAICS code. Dr. Wainwright’s calculations using the SBO and
           ABS data do not distinguish between sales/receipts dollars businesses receive
           through a contracting process from sales/receipts dollars businesses receive through
           any other means. Dr. Wainwright’s analysis of the SBO and ABS data therefore
           cannot measure disparities that might exist specifically in federal contracting.


           Similar to his analysis of the 205 disparity studies, as well as the underlying studies
           themselves, Dr. Wainwright’s calculations of disparity indexes in Section III do not
           account for any factors other than race/ethnicity. As explained above, these
           unadjusted disparities fail to provide any information about the cause of the
           disparities, and therefore it is inappropriate to conclude from these disparities that
           the results are “consistent with discrimination.” Unadjusted disparities may be
           caused by discrimination in that particular market, or may be caused by
           discrimination in a different market or historical discrimination, or may be caused by
           non-discriminatory factors.


           Further, none of the results in Section III are specific to the industry or market in
           which Ultima operates. Similar to Dr. Wainwright’s nationwide summary of disparity
           indexes in section II of his report, his calculation of disparity indexes across all
           industries in the US is not informative of whether disparities exist in any particular
           market or industry. Further, two-digit NAICS codes are quite broad definitions of
           industries and include firms that provide a variety of different services, and would not
           likely compete with Ultima for contracts. For example, NAICS code 56 is a broad
           definition of industry that includes firms such as travel agents, telemarketing firms,
           security and investigation firms, locksmiths, janitorial services firms, landscaping
           firms, and waste management firms.23 The existence of disparities, or discrimination,
           in the market for the services of those other types of firms does not address whether

  23 See https://www.naics.com/naics-code-
           description/?code=56#:~:text=56%20%2D%20Administrative%20and%20Support%20and%20Waste%20Manageme
           nt%20and%20Remediation%20Services.


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          disparities, or discrimination, exists in the market for Ultima’s services. Based on an
          analysis that combines firms and markets into a single NAICS code 56, it is unclear
          whether any disparities exist in the market for Ultima’s services, or markets that
          impact the market for Ultima’s services.

  7.3.    Dr. Wainwright’s Analysis of ACS data

          In section IV of his report, Dr. Wainwright presents the results of several regression
          analyses using ACS data. Specifically, Dr. Wainwright analyzes wages for all
          workers, the likelihood of individuals being self-employed (what he calls business
          formation), and the wages of self-employed workers. Dr. Wainwright first presents
          unadjusted analyses that do not control for any factors that may explain differences
          among race/ethnic groups, and then presents results after controlling for what he
          calls “qualifications” and “capacities.” Similar to the prior sections of his report, Dr.
          Wainwright presents these results across all industries, as well as separately for
          certain NAICS codes (or groups of NAICS codes).


          Note that none of the analyses that Dr. Wainwright presents using the ACS data
          specifically address potential disparities in federal contracting, nor can they
          distinguish between disparities that might exist in revenues businesses earn through
          contracting processes versus in revenues businesses earn in other ways. The ACS
          data contains information for a representative sample of workers across industries
          and occupations in the US. Dr. Wainwright’s analyses – of earnings, of the likelihood
          of being self-employed, and of self-employment earnings – are not limited to
          individuals involved in federal contracting or seeking federal contracts, and do not
          distinguish between earnings generated through contracting versus through other
          processes. Therefore, the analyses in section IV of Dr. Wainwright’s report cannot be
          used to support a conclusion that disparities, much less discrimination, exists in the
          market for federal contracting.


          Furthermore, consistent with the other sections of his report, Dr. Wainwright’s
          analyses using the ACS data are not specific to the industry in which Ultima
          operates. The closest Dr. Wainwright might come to analyzing Ultima’s industry are
          the results he presents for NAICS code 561M. However, as noted in Dr. Wainwright’s


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            report, the ACS data groups together NAICS codes 5611, 5612, and 5619 to create
            NAICS code 561M. NAICS code 5612 includes firms providing janitorial services,
            trash disposal, security services, and laundry services. NAICS code 5619 includes
            firms providing packaging and labeling services, and convention and trade show
            organizers. By combining all of the firms and markets into a single NAICS code
            561M, it is unclear from Dr. Wainwright’s analyses whether any disparities exist in
            the market for Ultima’s services.


            Further, much of Dr. Wainwright’s analysis presented in section IV does not account
            for any factor other than race/ethnicity (what Dr. Wainwright calls “unadjusted
            disparities”). As explained above, these unadjusted disparities do not consider any
            explanation other than discrimination as the cause of the disparity. In other words,
            these regression analyses omit all variables that might explain race/ethnic group
            differences. Therefore, it is inappropriate to conclude from these disparities that the
            results are “consistent with discrimination” as Dr. Wainwright has not examined any
            possible explanation other than discrimination for the observed disparities.


            In section IV.D, Dr. Wainwright does add some controls to his model that he refers to
            as “qualifications” and “capacities.” However, even these analyses only account for a
            limited set of factors, and are the type of regressions from large survey data that the
            National Academy of Sciences specifically cautions about when stating that “it is
            possible to measure the extent of the difference in the outcome that is associated
            with race, but it is not possible to decompose that difference into a portion that
            reflects discrimination and a portion that reflects the association between race and
            omitted variables that also affect the outcome.”24


            The “qualifications” that Dr. Wainwright accounts for are education, age, and
            geographic location.25 This means that Dr. Wainwright has not accounted for any
            other factor that might impact someone’s earnings or decision to be self-employed
            outside of their education, age, and geographic location. Any other factor that might
            impact earnings or the decision to be self-employed (e.g., college major, occupation,



  24 Blank et al, 2004, pp. 138-139.
  25 Note that from his report it is not clear how education or geographic location are specifically defined.


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            industry, quality of schooling, parents’ socioeconomic background, the desire to be
            self-employed, etc.) is not accounted for in Dr. Wainwright’s analysis. As a result,
            much of the variation in earnings, self-employment, and self-employment earnings is
            not explained by Dr. Wainwright’s model, meaning that there are potentially many
            other factors related to these outcomes that Dr. Wainwright does not account for.26 If
            any of these factors have differential outcomes by race/ethnicity, then Dr.
            Wainwright’s estimates of disparities will be unreliable measures of discrimination.


            The “capacities” that Dr. Wainwright includes are “indicators of individual financial
            assets, family structure, mobility, immigration status, military status (veteran), and
            local macroeconomic conditions by state.” Even adding these controls does not
            substantially improve the explanatory power of Dr. Wainwright’s model indicating that
            there still remains a large portion of the variation in earnings, self-employment, and
            self-employment earnings that are related to factors outside of Dr. Wainwright’s
            model. Further, even if Dr. Wainwright’s model controlling for “qualifications” and
            “capacities” accounted for all non-discriminatory explanations for disparities, none of
            the results he reports for self-employment earnings in NAICS code 561M are
            statistically significant. In other words, there are no statistically significant disparities
            between race/ethnic groups and non-minority males in 561M in what Dr. Wainwright
            refers to as “Business owner earnings.”27


  8.        Mr. Chow’s Analyses Do Not Investigate the Market Ultima
            Participates In and Are Unclear in Their Conclusions
            Mr. Chow presents the results of several logistic regressions (across all industries
            and separately by three-digit NAICS code) using data from the System of Award
            Management (SAM) and the Federal Procurement Data System (FPDS). He states
            that “the ultimate question of interest is whether the data show differences in the
            odds of contracts being won by minority-owned small businesses, especially those
            identified as SDBs and those participating in the 8(a) program, compared to other

  26 This can be seen in Dr. Wainwright’s reporting of R-squared, which measures the amount of variation in the outcome variable
            that has been explained by the factors in the model. An R-squared value of 1 indicates that all of the variation has
            been explained by the model. All of the R-squared values in this section of Dr. Wainwright’s report are below 0.5 (i.e.,
            less than half of the variation in the outcome explained) and many are below 0.1 (less than 10% of the variation in the
          outcome explained).
  27 See Wainwright Report, Table 4.9.


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           small businesses.”28 However, there are several issues with Mr. Chow’s analysis and
           interpretation of his results.

  8.1.     Mr. Chow’s analyses do not focus on the market for Ultima’s services

           First, Mr. Chow presents some results from analyses that combine all industries in
           the US, and some that are calculated separately for each three-digit NAICS code. As
           explained in the sections regarding Dr. Wainwright’s analyses, analyses that
           combine all industries in the US potentially mask larger or smaller disparities in
           particular markets, or even disparities in outcomes for non-minority firms. These
           aggregate analyses do not offer any information related to the specific market in
           which Ultima bids on contracts.


           In addition, Mr. Chow’s analyses broken down by three-digit NAICS code are also
           overly broad and don’t offer insight into the specific market in which Ultima bids on
           contracts. The majority of three-digit NAICS codes contain firms doing work that is
           very different from the services provided by Ultima. The three-digit NAICS codes that
           likely contains firms that are similar to Ultima are 541 and 561, but as explained
           previously, those codes also contain firms that are quite different from Ultima. NAICS
           code 561, for example, includes firms such as travel agents, telemarketing firms,
           security and investigation firms, locksmiths, janitorial services firms, landscaping
           firms, and waste management firms.29 Similar to the analyses presented by Dr.
           Wainwright, it is not clear from Mr. Chow’s results whether the disparities he reports
           exist in the specific market in which Ultima provides services and would likely be
           bidding on contracts.

  8.2.     Mr. Chow does not account for any information about bidding behavior
           or the actual bids of firms

           Second, the data on which Mr. Chow bases his analyses does not include any
           information about which firms actually bid on contracts or any information about the
           specific bids. The SAM database contains a list of firms that have registered with


  28 Chow Report, p. 7.
  29 See https://www.naics.com/naics-code-
           description/?code=561#:~:text=561%20%2D%20Administrative%20and%20Support%20Services&text=Industries%2
           0in%20the%20Administrative%20and,day%20operations%20of%20other%20organizations.


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           SAM, but there is no distinction made between those firms that register and those
           that bid on federal contracts (either those that ever bid or regularly bid). Firms that
           are registered with SAM that never bid, or rarely bid, on federal contracts, would be
           less likely to be awarded contracts than firms that actively and regularly bid on
           federal contracts.


           One of the underlying assumptions in Mr. Chow’s analysis is that in the absence of
           discrimination all of the firms in his database would be equally likely to be awarded
           contracts holding constant the factors he controls for. However, he does not, and
           cannot, control for whether a firm in his database actually bid on any federal
           contracts. Similarly, even for those firms that do bid on contracts, his database does
           not contain any information about those bids. Therefore, any differences in the types
           or details of bids that different firms submit is not accounted for in Mr. Chow’s
           analysis.


           At deposition, Mr. Chow admitted that the potentially important omitted variable of
           the number of bids of each firm may explain the differences he observes.
                     Q: Okay. And if I understand the analysis correctly, one variable that was not
                     used was failure to bid, right?
                     A (Mr. Chow): Correct, I have nothing in here about bidding.
                     Q: Okay. And so some of these odds might be attributable to the fact that
                     different groups bid less often or more often?
                     A: Might be attributable, yes.
                     Q: Okay. There’s nothing in your analysis that would eliminate that possibility;
                     is that right?
                     A: Correct.30
           This exchange shows that Mr. Chow knows that his analysis does not account for at
           least one non-discriminatory reason (number of bids) for the disparities he observes.
           As explained above, without accounting for all possible factors outside of
           discrimination, it is not possible to conclude that the disparities were caused by
           discrimination.




  30 Chow deposition, p.98-99.


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  8.3.      Mr. Chow’s methodology does not support his conclusions

            Third, based on the data and methodology Mr. Chow uses, his results do not support
            the conclusions that he reaches. Mr. Chow states in his report that “the ultimate
            question of interest is whether the data show differences in the odds of contracts
            being won by minority-owned small businesses, especially those identified as SDBs
            and those participating in the 8(a) program, compare to other small businesses.”31
            He also describes his combined analysis data set as a file consisting of “5,659,740
            registration observations and 64 variables.”32 I received a data file called
            “Awards_Combined_FY19FY20_SBNonSB.dta” that contains 5,659,740
            observations and 64 variables.33


            In order to assess whether there are differences among groups in their odds of
            winning contracts, Mr. Chow must have data in his analysis file for firms that win
            contracts as well as for firms that do not win contracts. It is unclear from Mr. Chow’s
            report or his deposition testimony what variable he is using in the database to
            indicate which firms won a contract and which firms did not. However, the data file
            that Mr. Chow produced appears to indicate that every record in the database is for a
            firm that won a contract, with some firms winning different types of contracts. There
            is a variable on the file called “AWARD_OR_IDV” that has a value of either “Award”
            or “IDV” for every one of the 5,659,740 records. If this variable indicates the type of
            award received (either a contract award (“Award”) or an Indefinite Delivery Vehicle
            (“IDV”)) 34 those values do not distinguish which firms were awarded contracts, but
            rather distinguish the type of award received among firms that were awarded
            contracts. As stated previously, every record in Mr. Chow’s analysis data set
            indicates either an “Award” or an “IDV” which implies that every firm in his data set
            were awarded some type of contract. Firms that did not receive contracts do not




  31 Chow report, p. 7.
  32 Chow report, p. 3.
  33 From this database I have replicated the counts Mr. Chow presents in Table 1 of his report, though without further information
            on the details of his methodology I am unable to replicate the other analyses in his report.
  34 See https://www.fpds.gov/help_V1_0/Indefinite_Delivery_Contract.htm


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            appear to be included in the data set Mr. Chow analyzed.35 If all firms in Mr. Chow’s
            analysis data set received awards of some type, it is not possible to conclude from
            an analysis of this data set anything about differences across groups in the likelihood
            of receiving or not receiving contract awards, much less to attribute any estimated
            differences to discrimination.

  8.4.      Mr. Chow admits that he is not offering an opinion about discrimination
            in the market for federal contracts

            Finally, though he did not express this opinion in his report, at deposition Mr. Chow
            stated that his results were “consistent with discrimination.”36 However, at deposition
            Mr. Chow also admitted that he is not offering an opinion that the disparities he
            observes were caused by discrimination in federal contracting.
                      Q: Do you have an expert opinion as to whether or not your study of lower
                      ratios can be attributed to discrimination by the Federal Government?
                      A (Mr. Chow): No.37
            Given that Mr. Chow also opines that his results are “consistent with discrimination” it
            appears that he is trying to answer the question of whether any form of discrimination
            in any market exists, not whether discrimination in federal contracting for Ultima’s
            services exists. If the relevant question in this case is whether discrimination caused
            disparities in the market for Ultima’s services, then Mr. Chow’s analysis and
            conclusions do not offer information helpful in answering that question.


  9.        Materials Relied Upon
            In preparing this report I relied upon the following documents and data:


                  •    Complaint in the matter of Ultima Services Corporation v. U.S. Department of
                       Agriculture, et al., dated March 4, 2020;
                  •    Report of Jon Wainwright, Ph.D., dated February 4, 2022;



  35 Note that there are firms in the SAM data set that I received that do not appear in Mr. Chow’s analysis data set. It is unclear
            from the materials I received whether the firms in the SAM data set that do not appear in Mr. Chow’s analysis data set
            are firms that did not receive awards or whether there is another reason that they are not included in Mr. Chow’s
           analysis data set.
  36 Chow deposition, p.106, 110-111.
  37 Chow deposition, p. 98.


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               •   Backup data and documents produced by Dr. Wainwright;
               •   Deposition transcript of Dr. Wainwright, dated March 7, 2022;
               •   Report of Daniel Chow, dated February 7, 2022;
               •   Backup data produced by Mr. Chow;
               •   Deposition transcript of Mr. Chow, dated March 10, 2022;


          This report is based on the information available to me as of April 4, 2022. Should
          additional information become available, including but not limited to other reports
          from experts retained in this matter, it may be necessary to supplement or amend
          this report. At trial I may rely upon documents that have been produced or testimony
          that has been given in this matter. All opinions expressed here are made to within a
          reasonable degree of economic certainty.




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                                         APPENDIX A




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                                          PageID #: 720
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  Employment
  Northwestern University, Lawyer Taylor Professor of Education and Social Policy, School of
     Education and Social Policy, September 2019 – present.

  Northwestern University, Professor of Human Development and Social Policy, School of
     Education and Social Policy, September 2017 – 2019.

  Northwestern University, Associate Professor of Human Development and Social Policy and
     Economics, School of Education and Social Policy, July 2010 – 2017.

  Northwestern University, Faculty Fellow, Institute for Policy Research, July 2010 – Present.

  Northwestern University, Program Coordinator and Director of Graduate Studies, Human
     Development and Social Policy program, School of Education and Social Policy, September
     2016 – 2019.

  Northwestern University, Member by courtesy, Department of Economics and Kellogg School of
     Management, July 2010 – Present.

  Education Lab, University of Chicago Urban Labs, Co-Director and Co-Founder, September
     2011 – Present.

  University of Chicago Booth School of Business, Associate Professor of Economics, July 2004 –
     2010.

  Princeton University, Industrial Relations / Education Research Sections Visiting Fellow,
      September 2006 – June 2007.

  University of Chicago Booth School of Business, Assistant Professor of Economics, July 2000 –
     July 2004.

  Education

  Massachusetts Institute of Technology, 1996-2000, Ph. D. in Economics.

  Princeton University, 1992-1996, A.B. in Economics, Cum Laude.




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     article.
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     Krzysztof Karbownik, and Jeffrey Roth).

  “Taste-Based or Statistical Discrimination: The Economics of Discrimination Returns to its
     Roots,” Economic Journal, November 2013, 572:F417-F432 (joint with Kerwin Charles).

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     Experimental Study in the Chicago Public Schools” (Guryan:PI) 2011-2014.
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     3-9” (Guryan:PI) 2010-2015.
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      schools through provision of social services by truancy officers: A Goal 3 randomized
      efficacy trial (Chicago Public Schools)” (Guryan:PI) 2010-2014.
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     Skills: Experimental Evidence” (Guryan:PI) 2010-2012
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     (Guryan:PI) 2008-2009.
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     summer reading intervention” (James Kim:PI, Guryan:Co-Investigator), 2007-2008.
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     Reading Comprehension Ability and Home Book Access? Results from a Randomized
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     Mazumder).

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     Results from a Randomized Experiment in Chicago,” NBER Working Paper 19862, January
     2014, (joint with Philip J. Cook, Kenneth Dodge, George Farkas, Roland G. Fryer Jr., Jens
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      and Bhash Mazumder).
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      DOI:10.1057/9780230226203.1906 (joint with Kerwin Charles).
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  “Trying to Understand the 2008-2009 Recession: Part 2, Remedies,” Journal of Lutheran Ethics
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  “World Wide Wonder? Measuring the (non-)Impact of Internet Subsidies in Public Schools,”
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  “How Financial Aid Affects Persistence: Comment,” in College Choices: The Economics of
    Where to Go, When to Go, and How to Pay for It, Caroline Hoxby, ed., 2004.
  Awards and Honors
  National Academy of Education, Elected member, 2021-present.
  John T. Dunlop Outstanding Scholar Award, awarded by the Labor and Employment Relations
     Association, 2010.
  Centel Foundation/Robert P. Reuss Scholar, Booth School of Business, University of Chicago,
     2002-2003.
  National Science Foundation, Graduate Research Fellow, 1996-1999.




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  Litigation Testimony and Expert Reports
  Testimony at trial, hearing, and arbitration
  “State of Colorado, ex rel. John W. Suthers, Attorney General, and Julie Mead, Administrator,
  Uniform Consumer Credit Code, v. Center for Excellence in Higher Education, Inc., et al.”
  District Court, Denver City and County, Colorado. Case no. 2014cv34530. Testimony at
  preliminary injunction hearing.
  “State of Minnesota by its Attorney General, Lori Swanson v. Minnesota School of Business, Inc,
  et al.” State of Minnesota, District Court, County of Hennepin, Fourth Judicial District. Court file
  no. 27-CV-14-12558. Testimony at trial.
  “Kenneth Martin, Aaron Truesdell, and Johnny Tejada, v. F.E. Moran Inc., Fire Protection of
  Northern Illinois.” U.S. District Court for the Northern District of Illinois, Eastern Division. Case
  No. 13 C 3526. Testimony at Daubert hearing.
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  Northern Illinois.” U.S. District Court for the Northern District of Illinois, Eastern Division. Case
  No. 13 C 3526. Testimony at trial.
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  Uniform Consumer Credit Code, v. Center for Excellence in Higher Education, Inc., et al.”
  District Court, Denver City and County, Colorado. Case no. 2014cv34530. Testimony at trial.
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  “David Kirk v. General Mills, Inc.” American Arbitration Association. Case No. 01-17-0002-
  4460. Testimony at arbitration hearing.
  “Michael Reynaud and Fiona Reynaud v. Ogletree, Deakins, Nash, Smoak & Stewart, P.C.;
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  Los Angeles, Central Branch. Case No. BC632972. Testimony at trial.
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  American Arbitration Association. Testimony at arbitration hearing.
  “Michael Pizzo v. Adtalem Global Education Inc. et al.” JAMS Ref. Number: 1340015940.
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  “Archibald v. DeVry, et al.” JAMS Ref. Number: 1340016080. Testimony at arbitration hearing.
  “Tillery v. DeVry Education Group, Inc., et al.” JAMS Ref. Number: 1340016095. Testimony at
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  hearing.
  “Jacobs v. DeVry University, et al.” JAMS Ref. Number: 1340017980. Testimony at arbitration
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  “Forsythe v. DeVry Education Group, Inc., et al.” JAMS Ref. Number: 1340016020. Testimony
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  “Hrinda v. DeVry University, et al.” JAMS Ref No. 1340016074. Testimony at arbitration
  hearing.
  “Perez v. DeVry University, et al.” JAMS Ref No. 1340018384. Testimony at arbitration hearing.
  “Smith v. DeVry University, et al.” JAMS Ref No. 1340018381. Testimony at arbitration
  hearing.
  “Haynes v. DeVry University, et al.” JAMS Ref No. 1340017974. Testimony at arbitration.
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  Case No. LACL147358. Testimony at trial.
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  “Lerman v. Turner, Carter, Kapelke, Kelly and Columbia College Chicago.” U.S. District Court,
  Northern District of Illinois. 1:10-cv-02169. Deposition.
  “Haley v. Cohen & Steers Capital Management.” U.S. District Court, Northern District of
  California. 4:10-cv-03856-PJH. Deposition.
  “Midwest Fence Corporation v. U.S. Department of Transportation, et al.” U.S. District Court,
  Northern District of Illinois, Eastern Division. Case no. 10-cv-5627. Deposition.
  “Jeffrey G. Gerasi v. Gilbane Building Company, Inc., AT&T, Services Inc., and Johnson
  Controls, Inc.” Circuit Court of Cook County, Illinois. Case no. 08 L 7258. Deposition.
  “Midwest Fence Corporation v. U.S. Department of Transportation, et al.” U.S. District Court,
  Northern District of Illinois, Eastern Division. Case no. 10-cv-5627. Deposition.
  “Beth A. Stokes v. John Deere Seeding Group, a subsidiary of Deere & Company a/k/a John
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  Division. Case No. 4:12-cv-04054-SLD-JAG. Deposition.
  “Thomas E. Perez, Secretary of Labor, United States Department of Labor v. American Future
  Systems, Inc. d/b/a Progressive Business Publications, a corporation; and Edward Satell,
  individually and as President of the above referenced corporation.” U.S. District Court for the
  Eastern District of Pennsylvania. Case no. 12-6171. Deposition.
  “People of the State of Illinois, v. Alta Colleges, Inc., et al.” Circuit Court of Cook County,
  Illinois County Department, Chancery Division. Case no. 12 CH 01587. Deposition.
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  “Terry Christopher, v. Richard Smykal, Inc. and American Built Systems, Inc.” Circuit Court of
  the 12th Judicial Circuit, Will County, Illinois. No. 11 L 000526. Deposition.
  “Jennifer DiPerna v. The Chicago School of Professional Psychology.” U.S. District Court for the
  Northern District of Illinois, Eastern Division. Case No. 1:14-cv-0057. Deposition.
  “Timothy O’Brien, et al., v. Caterpillar Inc.” U.S. District Court for the Northern District of
  Illinois, Eastern Division. Case No. 14-cv-7229. Deposition.
  “Kenneth Martin, Aaron Truesdell, and Johnny Tejada, v. F.E. Moran Inc., Fire Protection of
  Northern Illinois.” U.S. District Court for the Northern District of Illinois, Eastern Division. Case
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  Limited, Inc., and Infosys Public Services, Inc.” U.S. District Court for the Eastern District of
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  “Michael Reynaud and Fiona Reynaud v. Ogletree, Deakins, Nash Smoak & Stewart, P.C.;
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  Los Angeles, Central Branch. Case No. BC632972. Deposition.
  “Jens Boy v. Zimmer, Inc.; Zimmer Dental, Inc. et al” Superior Court of the State of California,
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  “PECO Pallet, Inc. v. Northwest Pallet Supply Co.”, U.S. District Court for the Northern District
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  Inc.,” U.S. District Court for the Northern District of Illinois. Civil Action No. 15-cv-02207.
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  “Brian Chan, et al. v. Big Geyser, Inc., Lewis Hershkowitz, Gerard A. Reda, Lynn Hershkowitz,
  Steven Hershkowitz, Eric Celt, Ron Genovese, Mike Wodiska, Kayte Mooney, and Dennis
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  “Zdzislaw Stoch v. John Crane, Inc.” Circuit Court of Cook County Illinois. Case No. 2016-L-
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  “Angel Omar Alvarez, et al. v. XPO Logistics Cartage LLC (Consolidated Action) and Victor
  Cortez Arrellano v. XPO Port Services Inc. (Consolidated Action).”, U.S. District Court, Central
  District of California, Case No. 2:18-cv-08220-RGK-E. Deposition.
  “Aaron Senne, et al. v. Office of the Commissioner of Baseball, et al.” U.S. District Court for the
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  Chester County, Pennsylvania. 2011-08499. Expert report.
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  of Labor v. American Future Systems, Inc. d/b/a Progressive Business Publications, a
  corporation; and Edward Satell, individually and as President of the above referenced
  corporation.” U.S. District Court for the Eastern District of Pennsylvania. Case no. 12-6171.
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  Union 597, U.A.” U.S. District Court for the Northern District of Illinois Eastern Division. Case
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  Minnesota School of Business, Inc, et al.” State of Minnesota, District Court, County of
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  Class.” Nathan Surrett et al. v. Western Culinary Institute, LTD and Career Education
  Corporation. Circuit Court for the State of Oregon for the County of Multnomah. Case No. 0803-
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  “Report in the matter of Michael Allard v. General Mills, Inc.” American Arbitration Association.
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  “Report in the matter of Michael Murray v. General Mills, Inc.” American Arbitration
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  “Report in the matter of James Heflin v. General Mills, Inc.” American Arbitration Association.
  Case No. 01-17-0004-0321. Expert Report.
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  Case No. 01-17-0005-2225. Expert Report.
  “Report in the matter of PECO Pallet, Inc. v. Northwest Pallet Supply Co.” U.S. District Court for
  the Northern District of Illinois Eastern Division. Civil Action No. 1:15-cv-06811. Expert Report.
  “Rebuttal Report in the matter of PECO Pallet, Inc. v. Northwest Pallet Supply Co.” U.S. District
  Court for the Northern District of Illinois, Eastern Division. Civil Action No. 1:15-cv-06811.
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  “Report in the matter of Darryl Williams and Howard Brooks, et al. v. Jani-King of Philadelphia,
  Inc., Jani-King, Inc., and Jani-King International, Inc.” U.S. District Court for the Eastern District
  of Pennsylvania. Case No. 09-1738-RBS. Expert Report.
  “Report in the matter of Jorge Valencia v. U.S. Bank National Association.” U.S. District Court
  for the Southern District of Iowa, Central Division. Case No. 4:18-cv-00056. Expert Report.
  “Expert Affidavit of Dr. Jonathan Guryan.” Supreme Court of the State of New York, County of
  New York. Index No. 159947/2019. Affidavit filed in Tri-City, LLC, Endor Car and Driver, LLC,
  Lyft, Inc. v. New York City Taxi & Limousine Commission.



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  New York. Index No. 159947/2019. Affidavit filed in Tri-City, LLC, Endor Car and Driver, LLC,
  Lyft, Inc. v. New York City Taxi & Limousine Commission.
  “Report in the matter of John W. Brennan v. Arthur D. Little, Inc.” Superior Court,
  Commonwealth of Massachusetts. CA No.: 1884-cv-02845. Expert Report.
  “Expert Rebuttal Report of Jonathan Guryan, Ph.D.” U.S. District Court for the Northern District
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  and Simpson v. Cook County Sheriff’s Office, et al. Expert Report.
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  “Report in the matter of Mitchell Clements v. WP Operations LLC”, U.S. District Court, Western
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  Company, INC., and S-L Routes, LLC.” U.S. District Court, Western District of North Carolina.
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  “Declaration of Jonathan Guryan in support of Defendant and Counter-Claimant XPO Logistics
  Cartage, LLC’s opposition to Plaintiffs and Counter-Defendants’ special motion to strike
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  Action).”, U.S. District Court, Central District of California, Case No. 2:18-cv-08220-RGK-E.
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  Services Inc.’s opposition to Plaintiffs and Counter-Defendants’ special motion to strike
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  “Supplemental Report in the matter of Victor Cortez Arrellano, et al. v. XPO Port Services Inc.
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  “Report in the matter of Mark Brackey, et al. v. Winnebago Industries, Inc., John Breuklander,
  and Gary McCarthy.” Iowa District Court for Winnebago County. Case No. LACV018026.
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   “Report in the matter of Klayton Fennell v. Comcast Cable Communications Management, LLC
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   “Rebuttal Report in the matter of Carzanna Jones and Heynard L. Paz-Chow, on behalf of
  themselves and all others similarly situated, v. David Uejio, in his official capacity as Acting
  Director, and Consumer Financial Protection Bureau.” U.S. District Court, District of Columbia,
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  “Report in the matter of Jessica Smith, v. DeVry University, et al.” JAMS Ref. Number
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  Expert Report.
  Other Reports
  Oral presentations
  Presentation of research findings to staff for Senator Tom Harkin.
  Presentation of research findings to staff for Congressman George Miller.
  Presentation of research findings to Congressional Black Caucus and Congressional Hispanic
  Caucus.
  Presentation of research findings to senior staff, U.S. Department of Education.
  Presentation of research findings to U.S. Secretary of Education, Arne Duncan.
  Presentation of research findings to OIRA, Office of Management and Budget.
  Written reports
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  “Comment on the proposed rule regarding Gainful Employment described in the NPRM released
  by the Department of Education on July 26, 2010.” Public comment submitted to U.S. Office of
  Management and Budget commenting on pending regulation.
  Professional Activities
  Editor, Journal of Labor Economics, December 2011 – 2020.
  Member, AEA Committee on the Status of Women in the Economics Profession (CSWEP),
    November 2018 – 2021.
  Research Associate, National Bureau of Economic Research. September 2010 – present.
  Faculty research fellow, National Bureau of Economic Research, September 2000 – September
     2010.
  Northwestern University, School of Education and Social Policy, Executive Committee,
     September 2016 – present.

  Northwestern University, Institute for Policy Research, Executive Committee, September 2012 –
     June 2019.

  Board Member, Communities in Schools of Chicago, 2017 – present.

  Co-Chair, J-PAL State and Local Innovation Initiative. 2015 – 2018.

  Faculty Affiliate, Population Research Center, NORC, December 2000 – present.
  Associate Editor, Labour Economics, 2010 – 2018.
  Research Consultant, Federal Reserve Bank of Chicago.
  University of Chicago Crime Lab, Faculty Affiliate.
  Invited Participant, Young Faculty Leaders Forum, Harvard University.
  Referee: American Economic Review, Quarterly Journal of Economics, Journal of Political
  Economy, Review of Economic Studies, Journal of Public Economics, Journal of Labor
  Economics, Review of Economics and Statistics, American Economic Journal: Applied
  Economics, American Economic Journal: Economic Policy, Journal of Policy Analysis and
  Management, National Tax Journal, Economics of Education Review, European Economic
  Review, Journal of Human Resources, Regulation and Governance, Education Next, Education
  Finance and Policy, British Journal of Industrial Relations, Journal of Law and Economics.
  Teaching:
      Northwestern University, School of Education and Social Policy: Quantitative Methods
      The Economics of Inequality and Discrimination.
      University of Chicago Booth School of Business: The Employment Relationship,
      Microeconomics.




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